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          ®niteb States: Bi^tritt Court
                                         FOR THE
                  NORTHERN DISTRICT OF CALIFORNIA


                      VENUE: SAN FRANCISCO



                        UNITED STATES OF AMERICA.

                                               V.
                                                                                      FILED
                                                                                      NOV 08 2018
                                                                                      SUSAN Y. SOONG
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                 NORTH DISTRICT OF CALIFORNIA
                             LAWRENCE J. GERRANS,
                              a/k/a LARRY GERRANS.




                                  DEFENDANT(S).


               SUPERSEDING INDICTMENT

                               18 U.S.C, § 1343-Wire Fraud;
                           18 U.S.C. § 1957 - Money Laundering;
                          18 U.S.C. § 1001(3) - False Statements;
            18 U.S.C. § 981(a)(1)(C) & 28 U.S.C. § 2461(c) - Forfeiture Allegation




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             Filed in open court this.                 . day of



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                                                                     Clerk / NO PROCESS
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